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                                 Attachment A
               Statement of Corporate Ownership/Corporate Resolution
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                ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF
 DIRECTORS IN LIEU OF A SPECIAL MEETING OF THE BOARD OF DIRECTORS

                                             Dated: May 16, 2024


       The undersigned, being the sole director ofPhiladelphia Orthodontics, P.C., a Pennsylvania
professional corporation (the “Corporation”! hereby adopts and ratifies the following resolutions
with the same force and effect as if adopted and ratified at a duly convened special meeting of the
Board of Directors.


                WHEREAS, it is in the best interests of the Corporation to file a voluntary petition in the
United States Bankruptcy Court for the Eastern District of Pennsylvania pursuant to Chapter 1 1 of
Title 1 1 of the United States Code (the “Bankruptcy Code”); it is

      RESOLVED, that the filing by the Corporation of a petition for relief under Chapter 1 1 of
the Bankruptcy Code, in the United States Bankruptcy Court for the Eastern District of
Pennsylvania is authorized; and it is further

                RESOLVED, that: (i) the timing of the filing of bankruptcy case, and (ii) the decision
whether to file the Corporation’s bankruptcy case under Subchapter V of Chapter 1 1 of the
Bankruptcy Code, shall be made by the Authorized Officer (as defined below) in his sole and
absolute discretion (subject always to any further resolution of the Board of Directors of the
Corporation); and it is further

                RESOLVED, that Joshua Davis, the President of the Corporation (the “Authorized
Officer”) is hereby authorized, empowered, and directed on behalf of and in the name of the
Corporation to execute, verify, and deliver all documents, including, without limitation, a petition,
schedule of assets and liabilities, statement of financial affairs, and other ancillary documents,
necessary to validly perfect the filing of a Chapter 1 1 voluntary bankruptcy case; and it is further

        RESOLVED, that the Authorized Officer is hereby authorized, empowered and directed
on behalf of and in the name of the Corporation to appear in all bankruptcy proceedings on behalf
of the Corporation, and to otherwise do and perform all acts and deeds and to execute, verify, and
deliver all necessary documents in connection with such bankruptcy case, with a view to successful
prosecution of such bankruptcy case; and it is further


        RESOLVED, that the Authorized Officer be and hereby is authorized, empowered, and
directed, with full power of delegation, on behalf of and in the name of the Corporation, to execute,
verify and/or file, cause to be filed and/or executed or verified (or direct others to do so on his
behalf as provided herein), and to amend, supplement, or otherwise modify from time to time, all
necessary or appropriate documents, including, without limitation, petitions, affidavits, schedules,
motions, lists, applications, pleadings, and other documents, agreements, and papers, and to take
any and all actions that the Authorized Officer deems necessary or appropriate; each in connection
with the Corporation’s bankruptcy case, including any post-petition financing, or any cash
collateral usage contemplated hereby or as may be required during the Corporation’s bankruptcy
case; and it is further




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        RESOLVED, that the Authorized Officer is hereby authorized and directed to employ the
law firm of Campbell & Levine, LLC to represent the Corporation in such bankruptcy case and
such other attorneys, investment bankers, accountants, financial advisors, and other professionals
to assist in the Corporation’s bankruptcy case on such terms as are deemed necessary, proper, or
desirable by the Authorized Officer and in connection therewith, the Authorized Officer is hereby
authorized, directed, and empowered, on behalf of the Corporation, to execute appropriate
retention agreements, pay appropriate retainers and cause to be filed an appropriate application for
authority to retain the services of such professionals in the Corporation’s bankruptcy case; and it
is further

        RESOLVED, that the Authorized Officer and any employees or agents (including counsel)
designated by or directed by the Authorized Officer shall be, and each hereby is, authorized,
empowered, and directed to cause the Corporation to enter into, execute, deliver, certify, file,
record, and perform such agreements, instruments, motions, affidavits, applications for approval,
or rulings of governmental or regulatory authorities, certificates, or other documents, and to take
such other actions, as in the judgment of such authorized person shall be necessary, proper, and
desirable to prosecute to a successful completion of the Corporation’s bankruptcy case; and it is
further,


               RESOLVED, that the Authorized Officer and any employees or agents (including counsel)
designated or directed by the Authorized Officer be, and hereby are authorized, empowered and
directed on behalf of the Corporation to do and perform any and all acts and deeds necessary to carry
out the foregoing resolutions; and


       RESOLVED, that all actions heretofore taken by the Authorized Officer and any employees
or agents (including counsel) designated or directed by the Authorized Officer on behalf of the
Corporation in connection with the Corporation’s bankruptcy filing and the transactions contemplated
therein and in these resolutions be, and the same are, ratified and approved in all respects.


                                [Remainder of Page Intentionally Left Blank]




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                                                                                              ar first
                                                         his signatures on the date and ye
                 FORE , the undersigned has duly affixed
           WHERE
written above.

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                                                             SOLE DIRECTO



                                                                                Dire   ctor
                                                             Joshua Davis, Sole




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